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  IT IS ORDERED as set forth below:



  Date: June 19, 2018
                                             _________________________________

                                                      Jeffery W. Cavender
                                                 U.S. Bankruptcy Court Judge

 ________________________________________________________________
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